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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                              CASE NO. 11-20331-CR-RNS

  UNITED STATES OF AMERICA,
           Plaintiff,

  vs.

  HAFIZ MUHAMMAD SHER ALI KHAN,
              Defendant.
  ______________________________________/

               DEFENDANT HAFIZ KHAN’S SUPPLEMENT TO HIS
             MOTION FOR COMPASSIONATE RELEASE PURSUANT TO
                      18 U.S.C. § 3582(c)(1)(A)(i) (DE 889)

        Defendant, Hafiz Khan, through undersigned counsel, respectfully files this

  factual supplement to his motion for compassionate release (DE 889) and states:

        1.     On Friday, October 4, 2019, Mr. Khan filed a motion for compassionate

  release based on what appears to be his imminent death. (DE 889). The Court ordered

  the government to file its response by 3 p.m. today. (DE 891).

        2.     Over the weekend, undersigned learned the following:

               a.      Dr. Franklin Olmo of FMC Butner advised the family during their

  Wednesday, October 2, 2019, visit that should Mr. Khan be released, FMC Butner

  would make arrangements to have him transported by air back to Florida.

               b.      FMC Butner provided the following names as contacts at the

  prison, in the event the Court or Government had follow-up questions:

                      i.     Ms. Oratado-Branch, Social Worker;

                     ii.     Mrs. Lee, Unit Manager;

                    iii.     Mr. Machalcho, Counselor;
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                   iv.      Chaplains Oakley, May, and Costello;

                    v.      Mr. Polk, Medical Records; and

                   vi.      Case Manager Allen.

          c.    The Patient Line is 919-575-5003, and the Prison Number is 919-575-

  3900.

          WHEREFORE, Mr. Khan respectfully requests that this Court supplement

  his original motion for compassionate relief (DE 889) with these factual assertions.

                                  Respectfully submitted,

                                  MICHAEL CARUSO
                                  Federal Public Defender

                            By:   s/Sowmya Bharathi
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                            CERTIFICATE OF SERVICE

        I HEREBY certify that on October 7, 2019, a copy of this document will be
  served on counsel of record via CM/ECF.




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